Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Pagelofs8

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vv. Case No. 1:22-cr-19-RCL
GREGORY RICHARD PURDY, et al.,

Defendants.

VERDICT FORM

We, the jury in the above-titled case, find the defendants:
Count One: Obstructing Officers During Civil Disorder, in violation of 18 U.S.C. § 231(a)(3)

Verdict as to Gregory Richard Purdy, Jr.:

X

Guilty Not Guilty

Count Two: Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C.

§ 111(a)@)

ey to Gregory Richard Purdy, Jr.:

Guilty Not Guilty

If you unanimously find Defendant Gregory Richard Purdy, Jr. guilty of the above crime,
have your foreperson check the blank space above “guilty.” Do not consider the lesser-included
offense of simple assault.

If you unanimously find the Defendant Gregory Richard Purdy, Jr. not guilty of the above
charge, have your foreperson check the blank space above “not guilty.” You then must consider

whether the defendant is guilty of the lesser-included offense of simple assault.
Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Page2of8

If you are unable to reach a unanimous decision on the above charge, leave the space blank
and decide whether the defendant is guilty of the lesser-included offense of simple assault.

Lesser-Included Offense: Simple Assault, in violation of 18 U.S.C. § 111(a)(1)

Verdict as to Gregory Richard Purdy, Jr.:

Guilty Not Guilty

Count Three: Obstructing Officers During Civil Disorder, in violation of 18 U.S.C. § 231(a)(3)

Verdict as to Gregory Richard Purdy, Jr.:

X

Guilty Not Guilty

Count Four: Obstructing Officers During Civil Disorder and Aiding and Abetting, in violation of
18 U.S.C. §§ 231(a)(3) and 2
Verdict as to each defendants:

1, my Richard Purdy, Jr.:

Guilty Not Guilty

2. Robert Turner:

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Guilty Not Guilty

Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Page 3of8

Count Five: Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C.

§ 111(a)Q1)
ws to Gregory Richard Purdy, Jr.:

Guilty Not Guilty

If you unanimously find Defendant Gregory Richard Purdy, Jr. guilty of the above crime,
have your foreperson check the blank space above “guilty.” Do not consider the lesser-included .
offense of simple assault.

If you unanimously find the Defendant Gregory Richard Purdy, Jr. not guilty of the above
charge, have your foreperson check the blank space above “not guilty.” You then must consider
whether the defendant is guilty of the lesser-included offense of simple assault.

If you are unable to reach a unanimous decision on the above charge, leave the space blank
and decide whether the defendant is guilty of the lesser-included offense of simple assault.

Lesser-Included Offense: Simple Assault, in violation of 18 U.S.C. § 111(a)Q1)

Verdict as to Gregory Richard Purdy, Jr.:

Guilty Not Guilty
Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Page4of8

Count Six: Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C.

§ 111(a)qd)

Verdict as to Robert Turner:

x

Guilty Not Guilty

If you unanimously find Defendant Robert Turner guilty of the above crime, have your
foreperson check the blank space above “guilty.” Do not consider the lesser-included offense of
simple assault.

If you unanimously find the Defendant Robert Turner not guilty of the above charge, have
your foreperson check the blank space above “not guilty.” You then must consider whether the
defendant is guilty of the lesser-included offense of simple assault.

If you are unable to reach a unanimous decision on the above charge, leave the space blank
and decide whether the defendant is guilty of the lesser-included offense of simple assault.

Lesser-Included Offense: Simple Assault, in violation of 18 U.S.C. § 111(a)(1)

Verdict as to Robert Turner:

Guilty Not Guilty
Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Page5of8

Count Seven: Obstruction of an Official Proceeding and Aiding and Abetting, in violation of 18
U.S.C. §§ 1512(c)(2) and 2
Verdict as to each defendants:

1. Gregory Richard Purdy, Jr.:

X

Guilty Not Guilty

2. Robert Turner:

Guilty Not Guilty

Count Eight: Entering and Remaining in a Restricted Building or Grounds, in violation of 18
U.S.C. § 1752(a)(1)
Verdict as to each defendants:

1. Gregory Richard Purdy, Jr.:

Guilty Not Guilty
2. Matthew Purdy:
Guilty Not Guilty

3. Robert Turner:

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Guilty’ Not Guilty

Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Page6éof8

Count Nine: Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of 18 U.S.C. § 1752(a)(2)
Verdict as to each defendants:

1. Gregory Richard Purdy, Jr.:

Guilty Not Guilty

2. Matthew Purdy:

Guilty Not Guilty
3. Robert Turner:
Guilty Not Guilty

Count Ten: Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
18 U.S.C. § 1752(a)(4)
Verdict as to each defendants:

1. Gregory Richard Purdy, Jr.:

Guilty Not Guilty

2. Robert Turner:

Guilty Not Guilty

Case 1:22-cr-00019-RCL Document 206 _ Filed 06/11/24

Page 7 of 8

Count Eleven: Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(D)

Verdict as to each defendants:

1. Purdy, Jr.:

Guilty Not Guilty

2. Matthew, Purdy:

x

Guilty Not Guilty
3. “NS urner:
Guilty Not Guilty

Count Twelve: Act of Physical Violence in the Capitol Grounds or Buildings, in violation of 40

U.S.C. § 5104(e)(2)(F)
Verdict as to each defendants:

1. Gregory Richard Purdy, Jr.:

Guilty Not Guilty

2. Robert Turner:

Guilty Not Guilty
Case 1:22-cr-00019-RCL Document 206 Filed 06/11/24 Page 8of8

Count Thirteen: Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40

U.S.C. § 5104(e)(2)(G)
Verdict as to each defendants:

1. Gregory, Richard Purdy, Jr.:

Guilty Not Guilty

2. Matthew Purdy:

Guilty Not Guilty

3. Robert Turner:

Guilty Not Guilty

Date: (p-ll- A Ut

